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                                                       U.S. District Court
                                           District of New Jersey [LIVE] (Newark)
                                    CIVIL DOCKET FOR CASE #: 2:23-cv-20444-KM-JSA


REINKRAUT v. JOHNSON & JOHNSON CONSUMER, INC. et al                                 Date Filed: 09/18/2023
Assigned to: Judge Kevin McNulty                                                    Jury Demand: Plaintiff
Referred to: Magistrate Judge Jessica S. Allen                                      Nature of Suit: 190 Contract: Other
Cause: 28:1332 Diversity-Contract Dispute                                           Jurisdiction: Diversity
Plaintiff
JACOB REINKRAUT                                                       represented by PAUL V SWEENY
On behalf of himself and all others similarly situated                               SQUITIERI & FEARON, LLP
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V.
Defendant
JOHNSON & JOHNSON CONSUMER, INC.                                      represented by JEFFREY A.N. KOPCZYNSKI
                                                                                     O'MELVENY & MYERS LLP
                                                                                     7 TIMES SQUARE
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Defendant
KENVUE, INC.                                                          represented by JEFFREY A.N. KOPCZYNSKI
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


Date Filed        #   Docket Text
09/18/2023        1 COMPLAINT against JOHNSON & JOHNSON CONSUMER, INC., KENVUE, INC. ( Filing and Admin fee $
                    402 receipt number BNJDC-14705071) with JURY DEMAND, filed by JACOB REINKRAUT. (Attachments: # 1
                    Civil Cover Sheet, # 2 Summons)(FEARON, STEPHEN) (Entered: 09/18/2023)
09/18/2023            Case Assigned to Judge Kevin McNulty and Magistrate Judge Jessica S. Allen. (ak, ) (Entered: 09/19/2023)
09/19/2023            CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ. P. 7.1(a)(2), unless the
                      Court orders otherwise, in any action filed or removed to this Court, in which jurisdiction is based upon diversity
                      under 28 U.S.C. 1332(a), a party or intervenor must file a disclosure statement naming and identifying the
                      citizenship of every individual or entity whose citizenship is attributed to that party or intervenor. A party,
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                 intervenor or proposed intervenor must file the disclosure statement with its first appearance, pleading, petition,
                 motion, response, or other request addressed to the Court. Click here to complete the Diversity Disclosure
                 Statement, once complete, file it using the event Diversity Disclosure Statement. (jd, ) (Entered: 09/19/2023)
09/19/2023    2 SUMMONS ISSUED as to JOHNSON & JOHNSON CONSUMER, INC., KENVUE, INC.. Attached is the
                official court Summons, please fill out Defendant and Plaintiffs attorney information and serve. (jd, ) (Entered:
                09/19/2023)
09/20/2023    3 NOTICE of Appearance by PAUL V SWEENY on behalf of JACOB REINKRAUT (SWEENY, PAUL) (Entered:
                09/20/2023)
09/21/2023    4 Diversity Disclosure Statement by JACOB REINKRAUT. (Attachments: # 1 Exhibit Diversity Jurisdiction
                Addendum)(FEARON, STEPHEN) (Entered: 09/21/2023)
10/02/2023    5 SUMMONS Returned Executed by JACOB REINKRAUT. KENVUE, INC. served on 9/20/2023, answer due
                10/11/2023. (FEARON, STEPHEN) (Entered: 10/02/2023)
10/02/2023    6 SUMMONS Returned Executed by JACOB REINKRAUT. JOHNSON & JOHNSON CONSUMER, INC. served
                on 9/20/2023, answer due 10/11/2023. (FEARON, STEPHEN) (Entered: 10/02/2023)
10/05/2023    7 NOTICE of Appearance by STEPHEN J FEARON, JR on behalf of JACOB REINKRAUT (FEARON, STEPHEN)
                (Entered: 10/05/2023)
10/12/2023    8 NOTICE of Appearance by JEFFREY A.N. KOPCZYNSKI on behalf of JOHNSON & JOHNSON CONSUMER,
                INC. (KOPCZYNSKI, JEFFREY) (Entered: 10/12/2023)
10/12/2023    9 Corporate Disclosure Statement by JOHNSON & JOHNSON CONSUMER, INC., KENVUE, INC. identifying
                JNTL Holdings 2, Inc. and Kenvue Inc. as Corporate Parent.. (KOPCZYNSKI, JEFFREY) (Entered: 10/12/2023)
10/12/2023   10 Application and Proposed Order for Clerk's Order to extend time to answer as to Complaint. Attorney JEFFREY
                A.N. KOPCZYNSKI for KENVUE, INC. added. (Attachments: # 1 Text of Proposed Order)(KOPCZYNSKI,
                JEFFREY) (Entered: 10/12/2023)
10/13/2023   11 SUMMONS Returned Executed by JACOB REINKRAUT. KENVUE, INC. served on 9/25/2023, answer due
                10/16/2023. (FEARON, STEPHEN) (Entered: 10/13/2023)
10/17/2023       Clerk`s Text Order - The document 10 Application for Clerk's Order to Ext Answer/Proposed Order submitted by
                 Defendant, KENVUE, INC. ONLY has been GRANTED. The answer due date has been set for 10/30/2023. (jd, )
                 Modified on 10/18/2023 (jd, ). (Entered: 10/17/2023)
10/18/2023       Clerk`s Text Order - The 10 Application for Clerk's Order to Ext Answer/Proposed Order submitted by Defendant,
                 JOHNSON & JOHNSON CONSUMER, INC. has been DENIED as having been filed after the answer due date.
                 (jd, ) (Entered: 10/18/2023)



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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


JACOB REINKRAUT, on behalf of himself and              Docket No.:
all others similarly situated,

              Plaintiff,                               CLASS ACTION COMPLAINT
                                                       AND DEMAND FOR JURY TRIAL
      vs.

JOHNSON & JOHNSON CONSUMER, INC.
and KENVUE, INC.,

                Defendants.


        Plaintiff Jacob Reinkraut (“Plaintiff”), on behalf of himself and all others similarly situated,

 by and through his undersigned counsel, brings this lawsuit against Defendants Johnson &

 Johnson, Inc. (“JJCI”) and Kenvue, Inc. (“Kenvue”) (together, “Defendants”). Plaintiff alleges as

 follows based on personal knowledge concerning all facts related to himself and based on the

 investigation of his counsel, and information and belief concerning all other matters:

                                     NATURE OF THE CASE

        1.      Plaintiff brings this case on behalf of a national class of all persons who purchased

 orally-administered Sudafed PE, an over-the-counter cold medication manufactured, marketed,

 labeled, distributed, and sold by Defendants that contains phenylephrine—an ingredient that

 supposedly acts as nasal decongestant but, in reality, does nothing.

        2.      Phenylephrine and pseudoephedrine are the two most common decongestants

 contained in over-the-counter cold medication. Pseudoephedrine is effective but subject to

 restriction due to its use as an ingredient in illegal methamphetamine. Phenylephrine, on the other

 hand, is not effective when orally ingested but is freely available because it is not subject to those

 same restrictions.
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       3.      Since at least 2007, reliable scientific data has conclusively demonstrated

phenylephrine is not an effective decongestant when orally ingested and, in fact, fares no better

than placebos to reduce nasal congestion. In 2007, the FDA—through its Nonprescription Drugs

Advisory Committee (‘NDAC”)—met to discuss scientific data submitted in a petition that Public

Citizen had filed on February 1, 2007 showing that “orally administered [phenylephrine] is not

effective at monographed doses.” Since that time, numerous scientific studies have further

confirmed Public Citizen’s findings and that orally ingested phenylephrine cannot effectively

relieve nasal congestion. In September 2023, based on the scientific consensus undercutting the

efficacy of phenylephrine, NDAC voted unanimously—16-0— that oral phenylephrine including

Sudafed PE is ineffective to treat nasal congestion.

       4.      Defendants understood that phenylephrine was ineffective in at least as early as

2007 because, upon information and belief, they reviewed Public Citizen’s petition to the FDA as

well as the systematic review and meta-analysis (and underlying data and studies) included in

Public Citizen’s petition which predated the February 2007 submission (in some instances by

decades). Defendants further reviewed subsequent studies and data from 2007 to 2016 further

confirming phenylephrine’s inefficacy when compared to a placebo.

       5.      Despite Defendants’ knowledge that phenylephrine was ineffective as a nasal

decongestant, Defendants failed to disclose to consumers or any wholesalers or retailers in the

chain of distribution that phenylephrine was an ineffective decongestant and, in turn, that Sudafed

PE was useless. Instead, Defendants expressly misrepresented and misled consumers, wholesalers,

and retailers by touting Sudafed PE as a “Nasal Decongestant” that could be used to “temporarily

relieve[] sinus congestion and pressure” and “temporarily relieve[] nasal decongestion due to the

common cold, hay fever or other upper respiratory allergies[.]”




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       6.      Defendants misrepresented the truth and omitted material information they had a

duty to disclose to Plaintiff and other consumers to maximize their profits and to delay the massive

costs of immediately ceasing and/or recalling ineffective Sudafed PE. Defendants sold $1.8 billion

in over-the-counter cold medication, including Sudafed PE, in 2022 alone.

       7.      Defendants sold ineffective Sudafed PE at the expense of their trusting customers

who unwittingly purchased Sudafed PE believing it could relieve nasal decongestion based on

Defendants’ misrepresentations and omissions. Consumers, like Plaintiff, depended on Defendants

to disclose the truth about Sudafed PE but were, instead, presented with false, misleading, or

incomplete representations and omissions regarding the uses and benefits of the Sudafed PE and

suffered damages as a result.

       8.      During the Class Period (2017 to the present),1 Plaintiff and Class members

purchased Sudafed PE even though, by that time, Defendants fully understood that phenylephrine

did not reduce nasal congestion. During the Class Period, Plaintiff purchased Sudafed PE in New

Jersey on multiple occasions at Walgreens and CVS. Plaintiff purchased Sudafed PE after

reviewing product labeling and based on Defendants’ labeling misrepresentations and omissions

that Sudafed PE could be used as a nasal decongestant. Plaintiff purchased and used the Sudafed

PE without any knowledge that phenylephrine could not be used as an effective treatment of nasal

decongestant. Plaintiff would not have purchased Sudafed PE had he known that it could not be

used to treat nasal decongestion.

       9.      As detailed below, Plaintiff brings express and implied warranty, fraudulent

concealment, consumer protection, and unjust enrichment claims arising from Defendants’ unfair




1
        The “Class Period” is the applicable statute of limitations for the claims brought by
Plaintiff.


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and deceptive business practices in knowingly placing ineffective Sudafed PE into the stream of

commerce. Plaintiff seeks on behalf of himself and the Class (defined below) damages and/or

restitution for Defendants’ unlawful conduct.

                                           PARTIES

       10.     Plaintiff is, and was at all relevant times, a resident of Bergen County, New Jersey

and a citizen of New Jersey. Plaintiff reviewed the labeling and used Sudafed PE as directed on

the instructions without any knowledge that Sudafed PE was ineffective as a treatment for nasal

decongestion because it contained phenylephrine. Plaintiff would not have purchased Sudafed

PE—or would have paid far less for Sudafed PE—had he known that phenylephrine is ineffective

to treat nasal decongestion.

       11.     Defendant JJCI is a Delaware corporation that has its principal place of business

located at One Johnson & Johnson Plaza, New Brunswick, New Jersey 08933. Prior to February

2022 (when JJCI spun-off Kenvue), JJCI manufactured, marketed, designed, promoted, and/or

distributed Sudafed PE containing ineffective phenylephrine in New Jersey and, from there,

throughout the United States. Upon information and belief, JJCI directed the sale of Sudafed PE

through McNeil Consumer Healthcare, a division of McNeil-PPC, Inc., another Johnson &

Johnson affiliated corporation.

       12.     Defendant Kenvue is a Delaware corporation that was formerly the consumer

healthcare division of JJCI prior to the February 2022 spin-off and has its principal place of

business located at 99 Grandview Rd, Skillman, NJ 08558. Upon information and belief, JJCI

currently maintains a 10% stake in Kenvue.

       13.     Upon information and belief, all assets and liabilities associated with the Sudafed

PE that had been manufactured, marketed, and/or sold by JJCI prior to the February 2022 spin-off




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are now owned by Kenvue as successor-in-interest, because: (1) Kenvue expressly or impliedly

assumed JJCI’s liabilities; (2) and/or Kenvue’s business is a mere continuation of JJCI’s business.

Kenvue manufactures, markets, designs, promotes, and/or distributes the Sudafed PE containing

ineffective phenylephrine in New Jersey and, from there, throughout the United States.

       14.     From their New Jersey headquarters, Defendants’ management oversaw the

production, distribution, and sale of Sudafed PE throughout the United States. Defendants’ sales

and marketing leadership, as well as their accounting, financial, and legal departments, are all

based in in New Jersey headquarters in this District. Furthermore, upon information and belief,

Defendants’ marketing, marketing analysis, sales and financial documents, and relevant financial

accounts were created and are located at their New Jersey headquarters and in this District.

       15.     Upon information and belief, Defendants created and/or authorized the false and

misleading representations and omissions from New Jersey. Defendants and their management—

from their New Jersey headquarters—collaborated in developing, manufacturing, and distributing

Sudafed PE.

       16.     Defendants’ substantial participation in designing, manufacturing, distributing,

marketing, and selling the Products from New Jersey, including their New Jersey headquarters,

means New Jersey has the greatest interest in the subject matter of this lawsuit.

                                JURISDICTION AND VENUE

       17.     This Court has original jurisdiction over this case under the Class Action Fairness

Act, 28 U.S.C. § 1332(d)(2). Minimal diversity exists between members of the Class (defined

below) and Defendants; the amount in controversy in this action exceeds $5,000,000, exclusive of

interest and costs; and there are more than 100 members in the proposed Class.




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        18.     This Court has general personal jurisdiction over this case because Defendants

expressly consented to general jurisdiction in New Jersey and/or because New Jersey is JJCI’s and

Kenvue’s principal place of business. Alternatively, the Court has specific personal jurisdiction to

adjudicate Plaintiff’s claims because the claims arise from conduct Defendants purposefully

directed to New Jersey. Defendants—through their management, employees, and agents—directed

the production, distribution, promotion, and sale of the Sudafed PE through New Jersey

headquarters, and Plaintiff purchased and used Sudafed PE in New Jersey. Those actions render

the Court’s exercise of jurisdiction over Defendants appropriate under traditional notions of fair

play and substantial justice.

        19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391. A substantial

portion of the events or omissions giving rise to Plaintiff’s claims occurred in this District

(including Plaintiff’s purchase and use of Sudafed PE), and Defendants regularly conduct business

and are subject to personal jurisdiction in this District.

        20.     All conditions precedent to this action have occurred, been performed, or have been

waived.

                                   FACTUAL ALLEGATIONS

A.      Defendants, the Products, and Misrepresentations and Omissions

        21.     At least as early as the Class Period (approximately 2017), Defendants

manufactured, distributed, marketed, and sold Sudafed PE throughout the United States at

premium prices based on a widespread advertising campaign highlighting Sudafed PE’s ability to

act as a decongestant.

        22.     Defendants sold Sudafed PE directly, through major online third-party retailers

including Amazon.com, and in physical retail stores, including Walgreens and Target.




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       23.       At least as early as the beginning of the Class Period (approximately 2017) and

continuing to the present, Defendants touted Sudafed PE’s efficacy as a decongestant due to the

presence of phenylephrine on front and rear product labeling.

       24.       On the front label, Defendants state:

             •   “Phenylephrine, HCI, Nasal Decongestant;”
             •   “Maximum Strength
                    o Sinus Pressure
                    o Sinus Congestion”




       25.       On the rear label, Defendants again tout Sudafed PE’s efficacy as a decongestant

due to inclusion of phenylephrine, stating (among other things):

             •   Active Ingredient (in each tablet)            Purpose
                 “Phenylephrine HCI 10mg ………..Nasal decongestant
             •   “Uses
                     o Temporarily relieves sinus congestion and pressure
                     o Temporarily relieves nasal congestion due to the common cold, hay fever
                         or other upper respiratory allergies”




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       26.       Those misrepresentations—given phenylephrine’s demonstrated and conclusive

inefficacy as a decongestant—are widely echoed on Defendants’ website and third-party retailer

websites. For example, Sudafed’s official website lists the same uses as the rear label and states:

             •   SUDAFED PE® Sinus Congestion provides maximum-strength sinus pressure and
                 nasal congestion relief with a non-drowsy formula that contains phenylephrine HCl
                 as a nasal decongestant.
                     o relieves sinus congestion and pressure
                     o contains decongestant phenylephrine HCl
                     o non-drowsy formula decongestant tablets[.]2

       27.       At least as early as the beginning of the Class Period (2017), Defendants’

representations were false and/or misleading as incomplete or only partially true. Contrary to

Defendants’ representations, the Sudafed PE could not be used as a decongestant because—as

detailed further below—its active ingredient phenylephrine was ineffective as a decongestant when

orally ingested.

       28.       At least as early as the beginning of the Class Period (2017), Defendants failed to

disclose on Sudafed PE packaging and labeling (including in the ingredients section) or otherwise

that Sudafed PE could not be used as a decongestant and/or that phenylephrine was an ineffective

decongestant when administered orally despite knowing that information since at least 2007 and

despite a duty to disclose that information based on their misleading partial representations and

superior knowledge, among other reasons (as detail below in Section D).

B.     Contrary to Defendants’ Misrepresentations, Phenylephrine Cannot Be Used as a
       Decongestant When Ingested Orally

       29.       Despite what Defendants state on labeling and in other promotional materials,

scientific research—unknown to Plaintiff and the Class—has demonstrated since at least 2007 that

phenylephrine cannot be used as a decongestant when ingested orally, that is, phenylephrine when


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       https://www.sudafed.com/products/sudafed-pe-sinus-congestion.


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taken orally fares no better than a placebo according to overwhelming scientific research.

       30.     The scientific data undercutting phenylephrine’s efficacy when orally ingested

dates to the early 1990s, when Dr. Leslie Hendeles noted in a medical journal that orally ingested

phenylephrine could not reduce nasal congestion because it was destroyed in the stomach before

it could reach the bloodstream.

       31.     A 2006 study published in the Journal of Allergy and Clinical Immunology, stated,

“Phenylephrine…is unlikely to provide relief of nasal congestion. It has poor oral bioavailability

because of extensive first-pass metabolism in the gut and liver . . . Moreover, in a randomized,

double blind, placebo-controlled, crossover study of 3 oral decongestants in 20 patients with

chronic nasal stuffiness, phenylephrine was no more effective than placebo in reducing nasal

airway resistance.”3

       32.     In 2007, based on accumulating scientific evidence, Public Citizen submitted a

petition to the FDA demonstrating the inefficacy of orally ingested phenylephrine based on a

reliable systematic review and meta-analysis. Public Citizen requested that the FDA re-evaluate

the safety and efficacy of phenylephrine as a decongestant. Despite the petition, the FDA

concluded that orally ingested phenylephrine was safe and effective (a determination that the FDA

later recognized was deeply flawed and based on flawed data).

       33.     In 2009, a double-blind study concluded that phenylephrine was not statistically

significant from a placebo in the mean change in subjective nasal congestion scores whereas

pseudoephedrine, a positive control in the study, decreased congestion significantly greater than




3
        Leslie Handeles PharmD and Randy Hatton, Pharm D, Oral phenylephrine: An
ineffective replacement for pseudoephedrine?, 118 J. Allergy and Clinical Immunology 1 (May
1, 2006).


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placebo and phenylephrine.4 In 2009, another study also reported similar findings between

phenylephrine and a placebo with respect to decreased nasal congestion scores.5

       34.     Likewise, in 2015, in a double-blind dose response study conducted by Meltzer, et

al., where participants were given various commercially over-the-counter oral phenylephrine

tablets and placebos, the authors unequivocally “failed to identify a dose for [phenylephrine]…that

was significantly more effective than placebo in relieving nasal congestion . . . .”6 Upon

information and belief, the commercially available phenylephrine tablets were Sudafed PE tablets

sold by Defendants.

       35.     In 2015, in a study researching the efficacy of orally ingested phenylephrine, the

authors also reported a lack of local decongestion effect of phenylephrine, finding that doses up to

three times the labeled OTC dose for oral phenylephrine are unlikely to be effective.7

       36.     In 2016, another study published by Meltzer, et al., concluded—based on a double-

blind placebo study—that phenylephrine “taken orally every 12 hours for 7 days is not more

efficacious than placebo in relieving nasal congestion.”8.


4
      Horak, F, P Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig,
2009, A placebo-controlled study of the nasal decongestant effect of phenylephrine and
pseudoephedrine in the Vienna Challenge Chamber, Ann Allergy Asthma Immunol.
5
       Day, JH, MP Briscoe, JD Ratz, M Danzig, and R Yao, 2009, Efficacy of loratadine-
montelukast on nasal congestion in patients with seasonal allergic rhinitis in an environmental
exposure unit, Ann Allergy Asthma Immunol.

6
      Meltzer et al., Oral Phenylephrine HCI for Nasal Congestion in Seasonal Allergic Rhinitis:
A randomized, Open-label, Placebo-controlled Study, 3 J. Allergy Clin. Immunol Pract.
7
       Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular
tolerability of phenylephrine HCl 10, 20, and 30 mg after a single oral administration in healthy
volunteers, Clin Drug Investig.
8
        Meltzer, EO, PH Ratner, and T McGraw, 2016, Phenylephrine hydrochloride modified-
release tablets for nasal congestion: a randomized, placebo-controlled trial in allergic rhinitis
patients, Ann Allergy Asthma Immunol.


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       37.      On September 12, 2023, the FDA NDAC panel voted unanimously against current

scientific data supporting the clinical effectiveness of 10 mg oral phenylephrine as a nasal

decongestant in the second portion of a 2-day meeting, i.e. the exact dosage and means that Sudafed

PE is administered.

       38.     In doing so, NDAC conducted a re-analysis of the studies and data underlying its

prior 2007 finding that phenylephrine was a safe and effective decongestant and determined that

that finding was based on problematic data and studies supported by unreliable methodology and

conclusions:

               When considering the studies through a modern drug review
               lens, all of the studies (both positive and negative) were highly
               problematic in both design and methodology. All used a highly
               variable endpoint (NAR) to study a drug in the setting of a highly
               variable disease state (the common cold) that is no longer used as a
               primary endpoint to evaluate congestion in pivotal trials. Further, all
               the positive studies (and most of the negative studies) were
               unpublished and therefore never peer-reviewed. Six of the seven
               positive studies came from a single study center (funded by the
               manufacturer of Neo-Synephrine), were very small in size, and
               (except in one instance) the results could not be duplicated at two
               other study centers (also funded by the same manufacturer) that used
               a similar study design and methodology.
Id.
C.     Defendants Knew That the Phenylephrine Was Ineffective But Nevertheless
       Continued to Misrepresent and Omit Material Information While Selling Useless
       Sudafed PE During the Class Period

       39.     The cumulative impact of phenylephrine research means that phenylephrine’s

inefficacy was well established as early as 2006, with additional research since then consistently

confirming phenylephrine’s inefficacy. Even if Defendants could feign ignorance of

phenylephrine’s inefficacy for some time after the 2006 research and Public Citizen’s 2007

FDA petition, by the end of 2016 and well-before the beginning of the Class Period (2017), it


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was crystal-clear based on repeated, reliable studies that phenylephrine was ineffective. As a

result, Defendants continued to expressly misrepresent the benefits of Sudafed PE on labeling

and in other marketing and omitted material information they had a duty to disclose during the

Class Period, which is when Plaintiff and the Class purchased Sudafed PE.

       40.     Plaintiff and the consuming public, on the other hand, had no actual or constructive

knowledge of phenylephrine’s inefficacy and, in turn, the inefficacy of Sudafed PE and had no

reason or duty to independently investigate phenylephrine’s efficacy at least until the FDA’s

September 2023 vote and media coverage of NDAC’s decision. Instead, Plaintiff and the Class

rightly relied on Defendants’ representations, superior knowledge, and sophistication.

       41.     From at least the beginning of the Class Period (2017), Defendants had a duty to

disclose to consumers, including Plaintiff, that phenylephrine did not treat nasal congestion.

Plaintiffs had no reasonable access to this information, including through inspection or other

means and relied on Defendants to make prompt and complete disclosure regarding product

efficacy.

       42.     During the Class Period, Defendants possessed superior knowledge, not

discoverable by Plaintiff, regarding phenylephrine’s inefficacy and, in turn, Sudafed PE’s

inefficacy to treat nasal decongestion. During the Class Period, Defendants knew that Plaintiff

and other consumers were purchasing the Sudafed PE based on Defendants’ misrepresentation

that Sudafed PE treated nasal congestion due on the inclusion of phenylephrine. Defendants had

a duty to disclose their superior knowledge to Plaintiff but did not disclose that information to

wrongly protect their business.

       43.     During the Class Period, Defendants made incomplete and false representations

that required a corrective and complete disclosure regarding phenylephrine’s efficacy. Among




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other things, Defendants misrepresented on Sudafed PE labeling, packaging, and in other

promotional materials that the Products could be used to “[t]emporarily relieve[] nasal congestion

due to the common cold, hay fever or other upper respiratory allergies.” However, Defendants

failed to disclose that, by at least 2017, scientific research had conclusively demonstrated that

phenylephrine could not be used to treat nasal decongestion.

       44.     During the Class Period, Defendants actively concealed the fact that phenylephrine

was ineffective, rendering Sudafed PE worthless. Defendants have long understood that orally

ingested phenylephrine does not relieve nasal decongestion. To the extent Defendants had any

doubts regarding whether phenylephrine was effective, Defendants could not have reasonably

believed phenylephrine was effective by the end of 2016 after numerous clinical studies

demonstrated that orally ingested phenylephrine—including Defendants’ own Sudafed PE—did

not reduce nasal decongestion when compared with placebo pills.

       45.     Defendants knew that if they disclosed that Sudafed PE did not relieve nasal

decongestion, Plaintiff and Class members would not have purchased or used Sudafed PE. To

selfishly protect their business, Defendants were motivated to conceal the true facts regarding

Sudafed PE’s efficacy on product packaging and in other promotional mediums. Defendants’

misrepresentations and omissions were not motivated simply to earn profit but to avoid a massive

sea change in their over-the-counter drug portfolio, as the revelation of the truth would eliminate

Sudafed PE and many other products containing phenylephrine and would reduce revenues by

hundreds of millions of dollar or more.

       46.     Defendants’ misrepresentations and omissions were material because consumers

are highly concerned with product efficacy and safety.




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D.     Plaintiff Purchased Sudafed PE During the Class Period Based on Defendants’
       Labeling Misrepresentations and Omissions

       47.     Between 2017 and 2023 Plaintiff purchased packages of Sudafed PE at Walgreens

and CVS. Plaintiff purchased Sudafed PE from these retail stores in New Jersey and paid

approximately $12-$14 for each package of Sudafed PE.

       48.     Prior to purchasing Sudafed PE, Plaintiff reviewed and relied on the product

labeling, including front labeling stating “Phenylephrine HCI, Nasal Decongestant” and the rear

labeling stating that Sudafed PE “[t]emporarily relieves” sinus congestion, pressure, and nasal

congestion.

       49.     The Sudafed purchased by Plaintiff did not disclose that phenylephrine does not

temporarily relieve nasal decongestion or that clinical studies and overwhelming reliable scientific

evidence demonstrated the phenylephrine did not temporarily relieve nasal decongestion, material

information that would have greatly impacted Plaintiff’s purchasing decision.

       50.     Plaintiff used the Sudafed PE as directed on the instructions between 2017 and 2023

without any knowledge that the phenylephrine does not reduce nasal decongestion.

       51.     Plaintiff would not have purchased Sudafed PE had he known that phenylephrine

could not temporarily relieve nasal decongestion.

E.     Tolling of the Statute of Limitations and Estoppel

       52.     Any applicable statutes of limitation have been tolled by Defendants knowing and

active concealment of the existence of the true nature and inefficacy of phenylephrine. Through

no fault or lack of diligence, Plaintiff and Class members were deceived regarding the Sudafed

PE’s ineffectiveness and could not reasonably discover that fact until media coverage of NDAC’s

unanimous finding in September 2023 that orally ingested phenylephrine cannot relieve nasal

congestion.



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       53.     At all times, Defendants were and are under a continuous duty to disclose to

Plaintiff and Class members the true standard, quality, character, nature, and grade of the Sudafed

PE. Instead, Defendants made misrepresentations and omitted disclosure of Sudafed PE’s

inefficacy. Defendants actively concealed the true standard, quality, character, nature, and grade

of the Sudafed PE and omitted material information about the quality, reliability, and

characteristics of Sudafed PE. Plaintiff and Class members reasonably relied on Defendants’

knowledge and concealment of the facts alleged herein.

       54.     For these reasons, all applicable statutes of limitation have been tolled based on the

discovery rule and Defendants’ fraudulent concealment; further, Defendants are estopped from

relying on any statutes of limitations in defense of this action.

                               CLASS ACTION ALLEGATIONS

       55.     Plaintiff seeks to represent and certify the following class:

               All United States residents who purchased orally-administered
               Sudafed PE during the Class Period (the “Class”).

               The Class excludes any judge or magistrate assigned to this case,
               Defendants, Defendants’ officers, directors, legal representatives,
               successors, and assigns, and any entity in which Defendants have a
               controlling interest.

       56.     Numerosity: This proposed class action involves hundreds of millions or more in

sales of Sudafed PE, and the Class includes hundreds of thousands, but far more likely millions,

of purchasers. As a result, the Class is so numerous that joinder of all members is impracticable.

       57.     Typicality: Plaintiff’s claims are typical of those belonging to every member of

the Class. Plaintiff and every member of the Class purchased Sudafed PE after being exposed to

Defendants’ misrepresentations and/or without material information only Defendants knew




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regarding Sudafed PE, but which Defendants withheld from consumers, including Plaintiff and the

Class.

         58.   Adequacy: Plaintiff will fairly and adequately protect the interests of the Class, and

Plaintiff has retained counsel experienced in complex class action litigation. Plaintiff and his

chosen counsel have no interests adverse to those of the Class that he seeks to represent.

A.       Rule 23(b)(2)

         59.   This action is appropriate as a class action pursuant to Rule 23(b)(2) because

Defendants have acted in a manner generally applicable to the Class by designing, manufacturing,

distributing, and selling ineffective and worthless Sudafed PE.

B.       Rule 23(b)(3)

         60.   Common questions of law and fact exist as to every member of the Class and

predominate over any questions solely affecting individual members of the Class, including:

         a)    Whether the phenylephrine can temporarily relieve nasal congestion;

         b)    Whether Defendants knew that phenylephrine and, in turn, Sudafed PE could not
               temporarily relieve nasal decongestion and Sudafed PE could not temporarily
               relieve nasal decongestion;

         c)    Whether Defendants had a duty to disclose that Sudafed PE could not temporarily
               relieve nasal decongestion;

         d)    Whether Defendants breached Sudafed PE’s express and implied warranties;

         e)    Whether Defendants violated the New Jersey Consumer Fraud Act;

         f)    Whether Defendants were unjustly enriched because of their misrepresentations
               and omissions concerning Sudafed PE’s supposed ability to temporarily relieve
               nasal decongestion; and

         g)    Whether Plaintiff and the Class are entitled to damages and restitution.

         61.   A class action is also superior to other available means for the fair and efficient

adjudication of this controversy for other reasons. The injuries suffered by individual members of


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the Class, though important to them, are relatively small compared to the burden and expense of

individual prosecution needed to address Defendants’ misconduct. Individualized litigation

presents a potential for inconsistent or contradictory judgments. In contrast, a class action presents

far fewer management difficulties; allows the hearing of claims that might otherwise go

unaddressed; and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.

       62.     The proposed Class is defined by objective criteria so that it is administratively

feasible for the Court to determine whether a particular individual is a member. Individual class

members can be identified through affidavits and/or reference to documents in Defendants’

possession, custody, or control without resort to a mini-hearing on the merits.

       63.     Plaintiff cannot be certain of the form and manner of proposed notice to members

of the Class until the Class is finally defined and discovery is completed regarding the identity of

members of the Class. Plaintiff anticipates, however, that notice by mail will be given to members

of the Class who can be identified specifically. In addition, notice may be published in appropriate

publications, on the internet, in press releases, and in similar communications in a way that is

targeted to reach members of the Class. The cost of notice, after class certification, trial, or

settlement before trial, should be borne by Defendants.

       64.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

at any time before the Class is certified by the Court.

                          FIRST CLAIM FOR RELIEF
             VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT

       65.     Plaintiff re-alleges and incorporates the allegations made elsewhere in the

Complaint as if set forth fully herein.

       66.     Plaintiff brings this claim on behalf of himself and on behalf of the Class.



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          67.   The New Jersey Consumer Fraud Act (“NJCFA”) declares it to be an unlawful

practice for “any person” to use an “unconscionable commercial practice, deception, fraud, false

pretense, false promise, misrepresentation, or the knowing concealment, suppression, or omission

of any material fact . . . in connection with the sale or advertisement of any merchandise.” N.J.S.A.

56:8-2.

          68.   The legislature intended the NJCFA to be “one of the strongest consumer protection

laws in the nation.” Cox v. Sears Roebuck & Co., 138 N.J. 2, 15, 647 A.2d 454, 460 (1994). The

NJCFA is considered “remedial legislation,” and courts therefore construe its prohibitions

“liberally to accomplish its broad purpose of safeguarding the public.” Lee v. Carter-Reed Co.,

203 N.J. 496, 522, 4 A.3d 561, 577 (2010).

          69.   The NJCFA broadly defines “person” to “include any natural person or his legal

representative, partnership, corporation, company, trust, business entity or association.” N.J.S.A.

56:8-1(d). Here, Defendants are “person(s)” under the NJCFA.

          70.   The NJCFA broadly defines “merchandise” as “any objects, wares, goods,

commodities, services, or anything offered, directly or indirectly to the public for sale.” N.J.S.A.

56:8-1(c). Here, Defendants offered the Sudafed PE products, constituting “merchandise” under

the NJCFA, to the public for sale.

          71.   Defendants’ conduct in misrepresenting the benefits of Sudafed PE and/or omitting

material information from Sudafed PE’s labels regarding efficacy and other marketing materials

constitutes the act, use and employment of deception, fraud, false pretenses, false promises,

misrepresentation, and unfair practices in the conduct of Defendants’ trade or commerce.




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       72.     Defendants also knowingly concealed, suppressed, and consciously omitted

material facts to Plaintiff and other members of the Class, knowing that consumers would rely on

the advertisements, packaging, and Defendants’ uniform representations to purchase Sudafed PE.

       73.     Defendants intended that Plaintiff and the Class rely on their continuing deception

by purchasing Sudafed PE, unaware of the material facts and omissions described above.

Defendants knew that their customers would continue to rely on Defendants’ representations and

omissions that phenylephrine and Sudafed PE were effective. This conduct constitutes consumer

fraud within the meaning of the NJCFA.

       74.     Defendants’ sale of ineffective and misbranded Sudafed PE, and the material non-

disclosures set forth above, constitutes an unconscionable commercial practice, deception, fraud,

false promise, misrepresentation and/or omission of material facts as to the nature of the goods, in

violation of the NJCFA.

       75.     There is a causal relationship between Defendants’ unlawful conduct and Plaintiff’s

and the Class’s losses. Plaintiff and other members of the Class purchased Sudafed PE based on

Defendants’ false representation that Sudafed PE could relieve nasal congestion and Plaintiff and

the Class did not know that phenylephrine was scientifically proven to be ineffective in temporarily

relieving nasal congestion. Had Plaintiff, the Class, and the consuming public known that Sudafed

PE did not relieve nasal congestion, they would not have purchased Sudafed PE.

       76.     Defendants’     unconscionable     commercial     practices,   along    with    their

misrepresentations and omissions, make Defendants liable to Plaintiff and other class members

under N.J.S.A. 56:8-2.11 and N.J.S.A. 56:8-2.12, which provide that “[a]ny person violating the

provisions of the within act shall be liable for a refund of all moneys acquired by means of any




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practice declared to be unlawful.” Defendants are further liable to Plaintiff and other class

members for treble damages, attorneys’ fees, and costs under N.J.S.A. 56:8-19.

                               SECOND CLAIM FOR RELIEF
                             BREACH OF EXPRESS WARRANTY

       77.     Plaintiff re-alleges and incorporates the allegations made elsewhere in the

Complaint as if set forth fully herein.

       78.     Plaintiff brings this claim on behalf of himself and on behalf of the Class.

       79.     During the Class Period, as set forth in Section A above, Defendants made

representations to the public, including to Plaintiff and the Class, by advertising, packaging,

labeling, ingredient lists and other means, that Sudafed PE could be used to treat nasal congestion.

Those promises and related promises became part of the basis of the bargain between the parties

and thus constituted express warranties.

       80.     Thereon, Defendants sold the goods to Plaintiff and the Class, who bought the

goods from Defendants. Plaintiff reviewed and relied on Defendants’ labeling, representations,

and warranties when purchasing and using the Products, including Defendants’ warranties on the

product labeling about “Phenylephrine HCI, Nasal Decongestant” and on the rear labeling stating

that Sudafed PE “[t]emporarily relieves” sinus congestion, pressure, and nasal congestion.

       81.     However, Defendants breached the express warranty in that Sudafed PE could not

temporarily relieve nasal decongestion. As a result of this breach, Plaintiff and the Class in fact

did not receive goods as expressly warranted by Defendants.

       82.     At least as early as the beginning of the Class Period, Defendants were on notice of

their warranty breaches through interactions with regulatory agencies including the FDA; clinical

studies dismissing the link between phenylephrine and nasal decongestion relief; and from other

external and internal sources. Thus, Plaintiff was not required to provide Defendants with notice



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of their warranty breaches to the extent Defendants were acting as manufacturers of Sudafed PE;

based on futility; and/or because Defendants were on notice of their breaches from other sources

(as alleged above).

       83.     Privity is not required between Plaintiff and Defendants because: (1) Defendants’

warranties were included in public advertising and sales literature; (2) Plaintiff reviewed and relied

on Defendants’ labeling and ingredient lists warranting that Sudafed PE “[t]emporarily relieves”

sinus congestion, pressure, and nasal congestion; and/or (3) Sudafed PE was consumer

merchandise, were sealed, and were meant for human consumption. Moreover, Plaintiff was the

known end purchaser of the Products; the Products’ implied warranties were intended for

Plaintiff’s immediate benefit; and Plaintiff was the intended third-party beneficiary of the

warranties between Defendants and the retailers who ultimately sold the Products to Plaintiff.

Defendants’ retailers were not intended to be the ultimate consumers of Sudafed PE and have no

rights under the warranty agreements. As a result, Defendants have a duty to compensate Plaintiff

and the Class for the warranty breaches.

                                THIRD CLAIM FOR RELIEF
                             BREACH OF IMPLIED WARRANTY

       84.     Plaintiff re-alleges and incorporates the allegations made elsewhere in the

Complaint as if set forth fully herein.

       85.     Plaintiff brings this claim on behalf of himself and on behalf of the Class.

       86.     Defendants are merchants and were at all relevant times involved in manufacturing,

distributing, warranting, and/or selling Sudafed PE.

       87.     Sudafed PE constitutes “goods” under the relevant laws, and Defendants knew or

had reason to know of the specific use for which the Sudafed PE, as goods, were purchased.




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       88.     The implied warranty of merchantability included with the sale of the Sudafed PE

means that Defendants guaranteed that Sudafed PE would be fit for the ordinary purposes for

which nasal decongestants are used and sold, conformed to labeling representations, and were not

otherwise injurious to consumers. The implied warranty of merchantability is part of the basis for

the benefit of the bargain between Defendants, and Plaintiff and members of the Class.

       89.     Defendants breached the implied warranty of merchantability because Sudafed PE

is not fit for its ordinary purpose of temporary relief of nasal congestion and did not conform to

labeling representations.

       90.     Had Plaintiff, Class Members, and the consuming public known that Sudafed was

ineffective and did relieve nasal congestion, they would not have purchased Sudafed PE.

       91.     As a direct and proximate result of the foregoing, Plaintiff and members of the

Class suffered and continue to suffer financial damage and injury, and are entitled to all damages,

in addition to costs, interest and fees, including attorneys’ fees, as allowed by law.

                             FOURTH CLAIM FOR RELIEF
                    FRAUDULENT MISREPRESENTATION/CONCEALMENT

       92.     Plaintiff re-alleges and incorporates the allegations made elsewhere in the

Complaint as if set forth fully herein.

       93.     Plaintiff brings this claim on behalf of himself and on behalf of the Class.

       94.     During the Class Period, Defendants made material representations to the public,

including Plaintiff and the Class, by their advertising, packaging, labeling, and other means, that

Sudafed PE could temporarily relieve nasal decongestion because it contained phenylephrine.

       95.     Defendants’ representations were untrue or misleading because Sudafed PE could

not relieve nasal congestion and phenylephrine has been scientifically proven as ineffective in

relieving sinus congestion.



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        96.     Defendants made these misrepresentations with actual knowledge of their falsity.

        97.     Defendants made the misrepresentations herein alleged with the intention of

inducing the public to purchase Sudafed PE.

        98.     Plaintiff, the Class, and the consuming public saw, believed, and reasonably relied

on Defendants’ advertising, labeling, and packaging when purchasing the Products.

        99.     As a proximate result of Defendants’ misrepresentations, Plaintiff and the Class

were induced to spend an amount to be determined at trial on the Products.

        100.    Moreover, during the Class Period (2017 to the present), Defendants knew that

Sudafed PE could not relieve nasal congestion based on clinical studies and other extensive

scientific research.

        101.    During the Class Period (2017 to the present), Defendants had a duty to disclose

that information: (a) to correct prior representations that were factually incorrect; (b) due to their

exclusive and superior knowledge regarding Sudafed’s inefficacy; (c) to make partial

representations regarding Sudafed PE’s inefficacy not misleading; and (d) due to Defendants’

active concealment of Sudafed’s inefficacy.

        102.    Plaintiff and the Class had no actual or constructive knowledge that Sudafed PE

could not temporarily relieve sinus congestion because phenylephrine is ineffective when ingested

orally. Moreover, Plaintiff and the Class had no duty to investigate Sudafed PE’s effectiveness.

        103.    Defendants intended to deceive Plaintiff and the Class by concealing the foregoing

facts to: (a) maintain the status quo; (b) prevent the collapse of a highly material portion of their

over-the-counter drug portfolio (phenylephrine drugs) worth hundreds of millions of dollars or

more; (c) maximize profits despite Sudafed PE’s ineffectiveness; and (d) to avoid a recall and tens

of millions of dollars or more in costs and liability.




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        104.   Had Plaintiff and the Class known the truth, they would not have purchased the

Sudafed PE.

        105.   Defendants’ concealment was a substantial factor in causing Plaintiff’s and Class’s

harm.

                                FOURTH CLAIM FOR RELIEF
                                  UNJUST ENRICHMENT

        106.   Plaintiff re-alleges and incorporates the allegations made elsewhere in the

Complaint as if set forth fully herein.

        107.   Plaintiff brings this claim on behalf of himself and on behalf of the Class.

        108.   Plaintiff and the other members of the Class conferred benefits on Defendants in

the form of monies paid to purchase Defendants’ ineffective and worthless Sudafed PE.

        109.   Defendants voluntarily accepted and retained this benefit.

        110.   Because this benefit was obtained unlawfully, namely by selling and accepting

compensation for ineffective and worthless Sudafed PE, it would be unjust and inequitable for

Defendants to retain the benefit without paying the value thereof.

        111.   Defendants received benefits in the form of revenues from purchases of the

ineffective Sudafed PE to the detriment of Plaintiff and the other members of the Class because

Plaintiff, and members of the Class, purchased ineffective and worthless products that were not

what they bargained for.

        112.   Defendants have been unjustly enriched in retaining the revenues derived from the

purchases of Sudafed PE by Plaintiff and the other members of the Class. Retention of those

monies under these circumstances is unjust and inequitable because Defendants’ labeling and

advertising of the Sudafed PE was misleading to consumers, which caused injuries to Plaintiff and




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members of the Class, because they would have not purchased Sudafed PE had they known the

true facts.

        113.     Because Defendants’ retention of the non-gratuitous benefits conferred on them by

Plaintiff and members of the Class is unjust and inequitable, Defendants must pay restitution to

Plaintiff and members of the Class for Defendants’ unjust enrichment, as ordered by the Court.

                                          JURY DEMAND

WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for relief as follows:

               a) An Order certifying this action to proceed on behalf of the Class and appointing
                  Plaintiff and the counsel listed below to represent the Class;

               b) An Order awarding Plaintiff and Class members compensatory, actual, statutory,
                  punitive or exemplary damages, restitution, and/or disgorgement along with such
                  other equitable relief as the Court deems proper;

               c) An Order awarding Plaintiff attorneys’ fees and other costs; and

               d) An Order awarding such other and further relief as may be just and proper,
                  including pre-judgment and post-judgment interest on the above amounts.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b), Plaintiff and the Class demand a trial by jury.
Dated: September 18, 2023

                                               SQUITIERI & FEARON, LLP

                                               By: /s/ Stephen J. Fearon, Jr.
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                                               Paul Sweeny
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
        JACOB REINKRAUT                                                                                  JOHNSON & JOHNSON CONSUMER, INC., and
                                                                                                         KENVUE, INC.,
    (b) County of Residence of First Listed Plaintiff            Bergen                                   County of Residence of First Listed Defendant Middlesex
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
Squitieri & Fearon, LLP, 305 Broadway, 7th Floor,
New York, NY 10007; (212) 421-6492
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1xx        1      Incorporated or Principal Place         4     4 xx
                                                                                                                                                       of Business In This State

    2   U.S. Government                 XX
                                         4 Diversity                                              Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                        Class Action Fairness Act                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
x   190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                                State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
X1 Original                2 Removed from                    3       Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
        Proceeding           State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:
                                                            28 U.S.C. 1332(d)(2)
                                                                                                   d
                                                   Class action stemming from defective sinus medication
VII. REQUESTED IN     x CHECK IF THIS IS A CLASS ACTION   DEMAND $                                                                               CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                JURY DEMAND:                 x Yes            No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE  Kevin McNulty                                                                           DOCKET NUMBER               23-20370
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
        9/18/2023
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case
                               Case
                                  2:23-cv-20444
                                     MDL No. 3089
                                                Document
                                                   Document
                                                         1-1 199-5
                                                              Filed 09/18/23
                                                                    Filed 10/19/23
                                                                              Page 2
                                                                                   Page
                                                                                     of 2 29
                                                                                          PageID:
                                                                                             of 31 27
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                Case
                  Case
                     2:23-cv-20444
                        MDL No. 3089
                                   Document
                                      Document
                                            1-2 199-5
                                                 Filed 09/18/23
                                                       Filed 10/19/23
                                                                 Page 1
                                                                      Page
                                                                        of 2 30
                                                                             PageID:
                                                                                of 31 28

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 District of NewDistrict
                                                  __________     Jersey of __________
  JACOB REINKRAUT, on behalf of himself and all
            others similarly situated                               )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )      Civil Action No.
   JOHNSON & JOHNSON CONSUMER, INC. and                             )
               KENVUE, INC.,
                                                                    )
                            Defendant
                                                                    )


                                                  SUMMONS IN A CIVIL ACTION
                                         Johnson & Johnson Consumer, Inc.
To: (Defendant’s name and address)
                                         One Johnson & Johnson Plaza New Brunswick, New Jersey 08933

                                         -and-

                                  Kenvue, Inc.
                                  99 Grandview Road
          A lawsuit has been filedSkillman, New Jersey 08558
                                   against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen J. Fearon, Jr., Esq.
                                         Paul V. Sweeny, Esq.
                                         Squitieri & Fearon, LLP
                                         305 Broadway
                                         7th Floor
                                         New York, New York 10007
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                   Case
                     Case
                        2:23-cv-20444
                           MDL No. 3089
                                      Document
                                         Document
                                               1-2 199-5
                                                    Filed 09/18/23
                                                          Filed 10/19/23
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
